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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                                  Chapter 11

    FRANCHISE GROUP, INC., et al.,1                                         Case No. 24-12480 (JTD)

                                         Debtors.                           (Jointly Administered)

                                                                            Rel. Dkt. No. 10, 277



      REPLY OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS TO
        DEBTORS’ MOTION FOR ENTRY OF INTERIM AND FINAL ORDERS (I)
     AUTHORIZING THE DEBTORS TO PAY CERTAIN PREPETITION CLAIMS OF
    CERTAIN CRITICAL VENDORS, FOREIGN VENDORS, SHIPPERS & LOGISTICS
       PROVIDERS, AND 503(b)(9) CLAIMANTS; AND (II) GRANTING RELATED
                                    RELIEF

             The Official Committee of Unsecured Creditors (the “Committee”) of Franchise Group,

Inc. and its debtor affiliates (collectively, the “Debtors”) in the above-captioned chapter 11 cases

(the “Chapter 11 Cases”) hereby files this Reply (this “Reply”) in support of the Debtors’ Motion

to Pay Critical Trade Vendor Claims Debtors Motion for Entry of Interim and Final Orders (I)

Authorizing the Debtors to Pay Certain Prepetition Claims of Certain Critical Vendors, Foreign


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   The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification numbers, to the
extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225), Freedom VCM Interco Holdings, Inc.
(2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables, Inc. (0028), Freedom VCM Interco, Inc. (3661),
Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC (0444), American Freight FFO, LLC (5743), Franchise Group
Acquisition TM, LLC (3068), Franchise Group Intermediate Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486),
Franchise Group Newco Intermediate AF, LLC (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC
(8271), American Freight, LLC (5940), American Freight Management Company, LLC (1215), Franchise Group Intermediate S,
LLC (5408), Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353), Home & Appliance Outlet, LLC
(n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor, LLC (2123), Franchise Group Intermediate B,
LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising and Licensing LLC (9968), Franchise Group Intermediate V, LLC
(5958), Franchise Group Newco V, LLC (9746), Franchise Group Intermediate BHF, LLC (8260); Franchise Group Newco BHF,
LLC (4123); Valor Acquisition, LLC (3490), Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin
Shoppe Mariner, LLC (6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising, LLC (8271),
Vitamin Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group Intermediate PSP, LLC (5965),
Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies “Plus”, LLC (5852), PSP Group, LLC (5944),
PSP Service Newco, LLC (6414), WNW Franchising , LLC (9398), WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP
Franchising, LLC (4978), PSP Subco, LLC (6489), PSP Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695),
Franchise Group Newco SL, LLC (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located at 109 Innovation Court,
Suite J, Delaware, Ohio 43015.



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Vendors, Shippers & Logistics Providers, and 503(b)(9) Claimants; and (II) Granting Related

Relief Filed By Franchise Group, Inc. [Docket No. 10] (the “Motion”).

                                                REPLY

         1.        The Committee aims to maximize value for unsecured creditors by ensuring stable

business operations during a going concern sale. The critical vendor program ensures shelves are

stocked and products are available, maximizing revenue and increasing the likelihood of a

successful sale, which benefits all creditors. The Objection filed by the Freedom Lender Group

[Docket No. 278] (the “Objection”) contradicts the Committee’s goals as it is value-destructive.

         2.        The Critical Vendor Order Cap is designed to pay critical vendors and/or those who

could otherwise disrupt business operations. Specifically, about 58% of the Critical Vendor Order

Cap is for holders of section 503(b)(9) administrative claims entitled to full payment under the

Bankruptcy Code. The remaining 42% is comprised of three categories of vendors: (i) shippers

and logistics providers, (ii) foreign vendors, and (iii) critical vendors.

         3.        The Freedom Lender Group argues that 503(b)(9) claims (i) have not been properly

vetted and (ii) they should not be paid until the end of cases, if sufficient funding is available. The

first argument assumes that the Debtors, with the support of their capable financial advisors,

AlixPartners, are incapable of reviewing their own books and records to determine which claims

are entitled to administrative status and should be dismissed out of hand.

         4.        The second argument requires administrative vendors, who are supporting the

business operations, to bear the full risk of administrative insolvency while extending trade credit

during the Chapter 11 Cases. Courts in this District (as opposed to the 7th Circuit) hold the opposite

and have long recognized the necessity of currently authorizing funding for section 503(b)(9)

priority claims (the “Priority Claims”). See In re NEC Holdings Corp., No. 10-11890 (Bankr. D.




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Del. July, 13, 2010), ECF No. 233, and Hearing Tr. at 108:1-5, ECF No. 224 (“I need some

evidence that there’s a probability that admin claims are going to be paid in full, including

503(b)(9) claims or I won’t approve the financing.”); In re Townsends, Inc., Case No. 10-14092

(CSS) (Bankr. D. Del. Jan. 21, 2011) (ECF No. 338; Hearing Tr. at 23:14 – 24:9 (according to

debtors, it was “practically, impossible” that section 503(b)(9) claims would be paid in full under

any scenario, while other administrative claims were anticipated to be paid in full; Court: “Well,

we've got a problem. Not going to run an administratively insolvent estate. There are benefits to

the current administrative claims that are accruing. There are benefits to the unsecured creditors.

But it can't be done on the back of the 503(b)(9) admin claims, which are admin claims. Congress

has made that determination. So certainly I would have a problem running any case that was

administratively insolvent. But one that is both administratively insolvent and prefers one set of

administrative creditors over another is doubly troubling. So that's -- well, I'm not going to do

it.”).2

          5.       As to the shippers and logistics providers, foreign vendors, and the critical vendors,

the Debtors have determined, in their business judgment, that failure to pay such creditors could

materially disrupt operations. The Freedom Lender Group wants to substitute its own judgment

and unhelpfully proposes that the Debtors sue each shipper/logistics provider for violating the stay.

But, these vendors hold possessory liens and would need to be paid in full under any chapter 11

plan in any event. Furthermore, suing each shipper/logistics provider would be reckless, time-

consuming, costly, and delay goods in stores, causing Debtors to miss critical holiday shopping

windows.



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  In Townsends , the debtors, secured lenders and creditors’ committee subsequently reached a settlement facilitating
the payment of section 503(b)(9) claims. In re Townsends, Inc., Case No. 10-14092 (CSS) (Bankr. D. Del. Jan. 28,
2011) (ECF 226, Certification of Counsel regarding final DIP financing order).



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         6.        With respect to the Critical Vendors, the Freedom Lenders Group opines that sole-

source inventory goods suppliers are not critical (see Obj. at ¶ 4), but in fact, that is the

quintessential definition of a critical vendor. See, e.g., In re Coserv, L.L.C., 273 B.R. 487, 498

(Bankr. N.D. Tex. 2002) (“To meet this requirement [to satisfy the ‘doctrine of necessity’ for a

critical vendor] debtor must show that, for one reason or another, dealing with the claimant is

virtually indispensable to profitable operations or preservation of the estate. The debtor's

customers, sole suppliers of a given product and creditors having control over valuable property

of the estate would satisfy this element of the Court's standard. A failure to deal with the claimant

risks probable harm or eliminates an economic advantage disproportionate to the amount of the

claim.” (emphasis added)); GLM DFW, Inc. v. Windstream Holdings Inc. (In re Windstream

Holdings Inc.), 614 B.R. 441, 459 (S.D.N.Y. 2020) (while "sole-source" suppliers are typically

considered critical vendors, "limited source" or "high-volume suppliers" to the debtors could also

qualify as critical vendors depending on the circumstances; "The Court can think of many

scenarios in which limited-source and high-volume suppliers could also be critical, especially

where alternative vendors are not available, which was another question Debtors answered in

creating their list of critical vendors.... Accordingly, the procedures in place ensured that Debtors

were not merely paying out prepetition debts to their preferred creditors.").

         7.        The Freedom Lender Group’s argument that it “does not wish to impair the Debtors’

business operations or diminish their prospects for reorganization” rings hollow. Obj. at ¶ 4. What

is at stake here are thousands of jobs, potential going concern sale(s), and the recovery for

thousands of unsecured creditors. This Court should reject the Freedom Lender Group’s value-

destructive Objection.




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                                              Conclusion

         WHEREFORE, the Committee respectfully requests that the Court (i) approve the

Motion, (ii) overrule the Objection, and (iii) grant such other and further relief as the Court deems

just and proper.


 Dated:      December 9, 2024         Respectfully submitted,

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